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AO 106(Rev. 01/09) Application for a Search Warrant



                                                   United States District Court
                                                                                    for the
                                                                         Western District of New York

                                        In the Matter of the Search of
                       (HfwtW          Oi' prx'istix-   tti'M'yhi'.iOf uUvuf\- lUt'   hv r.jme i/'ttf   )
  Email account: SCOTTSANSTROM(»YAHOO.COM

  THAT IS STORED AT PREMISES OWNED. MAINTAINED,
                                                                                                                       Case No. 19-MJ-1040
  CONTROLLED,OR OPERATED BY OATH HOLDINGS,INC.,
  AN E-MAIL PROVIDER HEADQUARTERED AT 701 FIRST
  AVENUE,SUNNYVALE, CALIFORNIA 94089

                                                        APPLICATION FOR A SEARCH WARRANT

       1, a federal law enforcement oniccr or an attorney for the government, request a search warrant and state
under penalty of perjury that I have reason to believe that on the following person or property (idennfyiheiycrsoiionh-scriiKihe
property 10 he searched andgive ».> liK-aiicn)'.

 E-mail account SCOTTSANSTROM(®YAHOO.COM, stored at premises owned, maintained, controlled, or
 operated by Oath Holdings, Inc., an email provider headquartered at 701 First Ave, Sunnyvale, California 94089.
 See Attachment A which is incorporated herein.

there IS now concealed: (tdenlilylheivrsonordocrihelhcproix-riylohescized)'.

 See Attachment B, for Particular Items to Be Searched for and Seized attached herein and incorporated by
 reference.


The basis for search under Fed. R. Grim. P. 41(c) is (check one or more):
            E     evidence of a crime;
            E contraband, fruits o! crime, or other items illegally possessed;
            E property designed for use, intended for use, or used in committing a crime;
            □ a person to be arrested or a person who is unlawfully restrained.
The search is related to a violation of 18 U.S.C, §225I(a), 2252A(a)(2), 2252A(a)(5)(B) and2252A(b)(l) and (2).

The application is based on these facts:

             B     continued on the attached sheet.
             E Delayed notice of 60 days (give exact ending date if more than 30 day^ May 28. 2019                                             ) is
               requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attflthed sheet.


                                                                                                                      AppUcaiU'i si^noiuiv
                                                                                                        TASK FORCE OFFICER MICHAEL HOCKWATER
                                                                                                        FFDF.RAT. BUREAU OF INVESTIGATION
                                                                                                                      Primed name and lUle

Sworn to before me and signed in my presence.

Date:       March 29. 2019
                                                                                                                        •Tlud^e's signaiare
                                                                                                        HONORABLE JEREMIAH J. MCCARTHY
City and state: Bulfalo. New York                                                                       UNITED STATES MAGISTRATE JUDGE
                                                                                                                       Primed name and Title
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                                   ATTACHMENT A
                                 Property to Be Searched


Yahoo! email account scott8anstrom@yahoo.com that is stored at premises owned,

maintained, controlled, or operated by Oath Holdings Inc., an e-mail provider headquartered

at 701 First Ave, Sunnyvale, California 94089
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                                      ATTACHMENT B
                                Particular Things to be Seized


                 I.     Infomiation to be disclosed by Oath Holdings Inc.
       To the extent that the information described in Attachment A is within the possession,

custody, or control of Oatfa Holdings Inc., Oath Holdings Inc. is required to disclose the

following information to the government for the account or identifier listed in Attachment A:

       a.       The contents of all e-mails stored in the account, including copies of e-mails

sent to and from the account, draft e-mails, the source and destination addresses associated

with each e-mail, the date and time at which each e-mail was sent, and the size and length of

each e-mail;



       b.       The contents of all instant messages stored in the account, including copies of

messages sent to and from the account, draft messages, the source and destination addresses

associated with each message, the date and time at which a message was sent/received, and

the size and length ofeach message;



       c.       AH records or other information regarding the identification ofthe account, to

include full name, physical address, telephone numbers and other identifiers, records of

session times and durations, the date on which the account was aeated,the length ofservice,

the types of service utilized, the IP address used to register the account, log-in IP addresses

associated with session times and dates, account status, altemative e-mail addresses provided

during registration, methods of connecting, log files, and means and source of payment

(including any credit or bank account number);
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       d.        All records or other information stored by an individual using the account,

including address books, contact and buddy lists, calendar data, pictures, and files;



       e.        All records pertaining to communications between Oath Holdings Inc., and

any person regarding the account, including contacts with support services and records of

actions taken.




                   n.    Infonnation/Items to be seized by the goveniment
       All records, data and information described above in Section I that constitutes finits,

evidence and instrumentalities of violations of 18 U.S.C. § 2251(a) - Production and

Attempted Production of Child Pornography, § 2252A(a)(2)(A) and § 2252A(b)(l) - Receipt

and Attempted Receipt of Child Pornography, and § 2252A(a)(5)(B) and § 2252A(b)(2) -

Possession and Attempted Possession of Child Pornography, including, for the account or

identifier listed on Attachment A,information pertaining to the following matters:

       a.     Evidence of the possession, receipt, distribution or production or of images
              depicting minors engaging in sexually explicit conduct, including attempts;

       b.     Any and all items and communications, including attachments, and images or
              videos, related to the possession, receipt or production, including attempts, of
              images depicting minors engaging in sexually explicit conduct and associated
              data, including but not limited to ip addresses, any the source and destination
              addresses associated with each, and associated records ofthe date and time; or

       c.     Any records or data or other information relating to who created or used the
              email account or identifier listed in Attachment A,including records which help
              to identify the user and the user's whereabouts.
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  AFFIDAVrr IN SUPPORT OF AN APPLICATION FOR A SEARCH WARRANT



     I, Michael Hockwater, being first duly sworn, hereby depose and state as follows:

                 I. INTRODUCTION AND AGENT BACKGROUND

       1.     I am a Police Detective with the Town of Cheektowaga, New York Police

Department. I have been a Police Officer since August of 1989. I am currently assigned as a

Task Force Officer (TFO) with the Federal Bureau of Investigation (FBI), Buffalo Field

Office, Child Exploitation Task Force (CETF), Innocent Images National Initiative, which

targets individuals involved in the on line sexual exploitation ofchildren. I have been a TFO

since June 14, 2010. As part of these duties, I have become involved in the investigation of

suspected violations of Title 18, United States Code, Sections 2251, 2252, 2252A, 2422, and

2423. I have also participated in various FBI mandated and volunteer training for the

investigation and enforcement offederal child pornography laws in which computers are used

as the means for receiving, transmitting, and storing child pomography.



       2.     I make this affidavit in support of an application for a search warrant for

information associated with a certain Yahoo!email account that is stored at premises owned,

maintained, controlled, or operated by Oath Holdings Inc., an e-mail provider headquartered

at 701 First Ave,Sunnyvale, California 94089. The information to be searched is described in

the following paragraphs and in Attachment A.




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       3.      This affidavit is made in support of a search warrant, pursuant to Rule 41 of

the Federal Rules of Criminal Procedure, and 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and

2703(c)(1)(A), to search the following property, where I believe evidence of violations of 18

U.S.C. § 2251(a)(production and attempted production of child pornography), 18 U.S.C.

§ 2252A(a)(2)and § 2252A(b)(l),(receipt and attempted receipt ofchild pornography)and 18

U.S.C. § 2252A(a)(5)(B) and § 2252A(b)(2)(possession and attempted possession of child

pornography)(collectively, the "SUBJECT OFFENSES") will be located in Yahoo email

account SCOTTSANSTROM@YAHOO.COM (hereinafter "TARGET ACCOUNT").

The facts in this affidavit come from my personal observations, my training and experience,

and information obtained from other agents and witnesses. This affidavit is intended to show

merely that there is sufficient probable cause for the requested warrant and does not set forth

all of my knowledge about this matter.



       4.      Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of 18 U.S.C. § 2251(a), § 2252A(a)(2) and

§2252A(b)(l)and § 2252A(a)(5)(B)and §2252A(b)(2)have been committed by a person using

the TARGET ACCOUNT and/or others. There is also probable cause to search the

information described in Attachment A for evidence ofthese crimes and contraband or fruits

ofthese crimes, as described in Attachment B.



                         n. COMPUTERS AND ENTICEMENT

       5.      Computers and computer technology have revolutionized the way in which

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individuals interact with minors for the purposes ofengaging in sexual activities. Through the

use ofcomputers and the intemet, individuals have to ability to easily seek out, solicit, entice,

coerce, and/or coordinate meetings with minors for the purpose of engaging in sexual

activity. Individuals typically use social networking sites, online community sites, cellular

telephones, and other intemet browsers/search engines to facilitate these activities. The goal

is to establish a relationship over the intemet that can eventually lead to a face-to-face meeting

for the purposes ofengaging in sexual activities with the minor(s).



       6.      The Intemet is a worldwide computer network that coimects computers and

allows communications and the transfer of data and information across state and national

boundaries. A user accesses the Intemet from a computer network or Intemet Service

Provider (ISP) that connects to the Intemet. The ISP assigns each user an Intemet Protocol

(IP) Address. Each IP address is unique. Every computer or device on the Intemet is

referenced by a unique IP address the same way every telephone has a unique telephone

number. An IP address is a series offour numbers separated by a period, and each number is

a whole number between 0 and 255. An example of an IP address is 192.168.10.102. Each

time an individual accesses the Intemet, the computer from which that individual initiates

access is assigned an IP address. A central authority provides each ISP a limited block ofIP

addresses for use by that ISP's customers or subscribers. Most ISP's employ dynamic IP

addressing, that is, they allocate any unused IP address at the time ofinitiation ofan Intemet

session each time a customer or subscriber accesses the Intemet. A dynamic IP address is

reserved by an ISP to be shared among a group of computers over a period of time. IP

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addresses may also be static, if an ISP assigns a user's computer a particular IP address that

is used each time that computer accesses the Intemet. The ISP may log the date, time and

duration ofthe Intemet session for each IP address and can identify the user ofthat IP address

for such a session from these records, depending on the ISP's record retention policies.



       7.     Yahoo! is a web services provider that, among other functions, provides users

with e-mail services, and allows users to communicate via the Intemet with other Intemet

users. Yahoo.com is owned and operated by Verizon Media operating under the entity known

as Oath Holdings Inc.



       8.     In order to use the email features of Yahoo!, an individual must register with

Yahoo! by establishing a unique screen name, user profile, and password.              During

registration or at any time after registration, an individual may add other personal

information, such as their name, address, telephone number, interests, etc., to their user

profile. After registration is complete with Yahoo!,an email account will be established and

accessible for the individual with the email address [unique screen name]@yahoo.com.



                               m.PROBABLE CAUSE

       9.     On February 27, 2019, I was contacted by the Town of Cheektowaga Police

Department who was investigating an incident wherein a 10 year old minor female

(hereinafter VICl) had been communicating with an unidentified person (SUBJECTl) who

was utilizing the TARGET ACCOUNT. VICl was using an Apple email account with


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identifiers known to me. SUBJECTl sent VICl naked pictures of himselfand requested that

VICl send him pictures showing her naked body. On February 27, 2019, I spoke with the

father of VICl who authorized a search of her iPad.




       10.    On March 1, 2019, I searched the iPad belonging to VICl and found several

emails between VICl and the TARGET ACCOUNT. The email communications between

VICl and the TARGET ACCOUNT began on February 21,2019 and ended on February 25,

2019. On February 21, 2019 at 2:24 PM EST, VICl sent a picture of her genital area to the

TARGET ACCOUNT. On the same day at 3:19 PM EST, VICl sent a naked picture of her

whole body to the TARGET ACCOUNT. On February 21, 2019 at 4:35 PM EST, the user

of the TARGET ACCOUNT sent VICl an email stating "Good I miss you. Can I still caU

you babe". On the same day at 4:38 PM EST, the user of the TARGET ACCOUNT sent

VICl a picture of his genitals. On the same day at 4:42 PM EST, the user of the TARGET

ACCOUNT sent VICl and email stating, "Send me sexy video of you". Four minutes later,

the user ofthe TARGET ACCOUNT sent VICl and email stating, "send me rub pussy".



       11.   On March 5, 2019, VICl was forensically interviewed at the Child Advocacy

Center in Buffalo, New York. VICl stated that she had first met SUBJECTl at the end of

2018 before Christmas on a mobile application called "MLB9INNINGS"and soon after their

communications switched to email. VICl posted on her"MLB9INNINGS" account that she

was 10 years old. SUBJECTl used emaU address SCOTTSANSTROM@YAHOO.COM.

VICl stated that SUBJECTl initially told her that he was 11 years old and asked her to send


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him naked pictures of herself. At the request of SUBJECTl, VICl sent several pictures of

herself displaying her genitals to the TARGET ACCOUNT. SUBJECTl also sent VICl

pictures of his genitals and his face at which time VICl realized that SUBJECTl was older

estimating that he was in his thirties. SUBJECTl told VICl that he wanted to drive to her

house to meet her in person.



       12.    On or about March 28, 2019, I sent an Administrative Subpoena to Oath

Holdings, requesting subscriber information and ip logs for the TARGET ACCOUNT. On

March 13, 2019,1 reviewed the results of that subpoena and discovered that the subscriber

was Scott Sanstrom, 610 E. Kerr Ave. Apt. 105, Urbana, Illinois 61802, telephone number

(217)344-8325. The subpoena retum also provided ip connection logs. The most recent login

was on February 26, 2019 at 7:20:42 PM(GMT). The ip address used at that date and time

was 2601:240:8201:9e0:3d8f:b3el:f561:4a48. A subpoena for that ip address identified the

subscriber as Scott Sanstrom, 610 E. Kerr Ave. Apt. 105, Urbana, IL 61802, telephone

number(217) 344-8325.



                          IV.       TECHNICAL BACKGROUND


       13.    In my training and experience, I have learned that YAHOO!, Inc. provides a

variety of on-line services, including electronic mail ("e-mail") access, to the general public.

YAHOO!Inc. allows subscribers to obtain e-mail accounts at the domain name yahoo.com,

like the e-mail accounts listed in Attachment A. Subscribers obtain an account by registering

with YAHOO, Inc. During the registration process, YAHOO!, Inc. asks subscribers to


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provide basic personal information. Therefore, the computers of YAHOO!,Inc. are likely

to contain stored electronic communications (including retrieved and unretrieved e-mail for

YAHOO!, Inc. subscribers) and information concerning subscribers and their use of

YAHOO!,Inc. services, such as account access information, e-mail transaction information,

and account application information.



       14.      In general, an e-mail that is sent to a YAHOO!,Inc. subscriber is stored in the

subscriber's "mail box" on YAHOO!, Inc. servers until the subscriber deletes the e-mail. If

the subscriber does not delete the message, the message can remain on YAHOO!,Inc. servers

indefinitely.



       15.      When the subscriber sends an e-mail, it is initiated at the user's computer,

transferred via the Internet to YAHOO!, Inc.'s servers, and then transmitted to its end

destination. YAHOO!, Inc. often saves a copy of the e-mail sent. Unless the sender of the

e-mail specifically deletes the e-mail from the YAHOO!,Inc. server, the e-mail can remain on

the system indefinitely.



       16.      A sent or received e-mail typically includes the content of the message, source

and destination addresses, the date and time at which the e-mail was sent, and the size and

length ofthe e-mail. Ifan e-mail user writes a draft message but does not send it, that message

may also be saved by YAHOO!,Inc. but may not include all ofthese categories of data.




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        17.    A YAHOO!, Inc. subscriber can also store files, including e-mails, address

books, contact or buddy lists, calendar data, pictures, and other files, on servers maintained

and/or owned by YAHOO!Inc., which allows users to search for videos on the intemet.



       18.     Subscribers to YAHOO!,Inc. might not store on their home computers copies

ofthe e-mails stored in their YAHOO!,Inc. account.This is particularly true when they access

their YAHOO!,Inc. account through the web, or if they do not wish to maintain particular

e-mails or files in their residence.




       19.     In general, web service providers like YAHOO!, Inc. ask each of their

subscribers to provide certain personal identifying information when registering for an e-mail

account. This information can include the subscriber's fiill name, physical address, telephone

numbers and other identifiers, alternative e-mail addresses, and,for paying subscribers, means

and source of payment(including any credit or bank account number).



       20.     Web service providers typically retain certain transactional information about

the creation and use ofeach account on their systems. This information can include the date

on which the account was created, the length ofservice, records oflog-in (i.e., session) times

and durations, the types of service utilized, the status of the account(including whether the

account is inactive or closed), the methods used to connect to the account (such as logging

into the account via YAHOO!, Inc.'s website), and other log files that reflect usage of the

account. In addition, e-mail providers often have records of the Intemet Protocol address


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("IP address") used to register the account and the IP addresses associated with particular

logins to the account. Because every device that connects to the Internet must use an IP

address, IP address information can help to identify which computers or other devices were

used to access the e-mail account.




       21.     In some cases, e-mail account users will communicate directly with an e-mail

service provider about issues relating to the account, such as technical problems, billing

inquiries, or complaints from other users. E-mail providers typically retain records about such

communications, including records of contacts between the user and the provider's support

services, as well records of any actions taken by the provider or user as a result of the

communications.




       22.     In my training and experience, evidence of who was using an e-mail account

may be found in address books, contact or buddy lists, e-mail in the account, and attachments

to e-mails, including pictures and files.



         V. INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED


       23.     I anticipate executing this warrant under the Electronic Conmiunications

Privacy Act,in particular 18 U.S.C.§§ 2703(a), 2703(b)(1)(A)and 2703(c)(1)(A), by using the

warrant to require Oath Holdings Inc. to disclose to the government copies ofthe records and

other information(including the content ofcommunications)particularly described in Section

I ofAttachment B. Upon receipt of the information described in Section I ofAttachment B,

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government-authorized persons will review that information to locate the items described in

Section II of Attachment B.




                                      VI. CONCLUSION

      24.     Based upon the above information, I believe that probable cause exists to

believe there has been a violation of Title 18, United States Code, Sections 2251(a),

2252A(a)(2) and § 2252A(b)(l), and 2252A(a)(5)(B) and § 2252A(b)(2) and that there is

probable cause to believe that in the TARGET ACCOUNT,there is located the items set out

in Attachment A.




      25.     Based upon the foregoing, I request that the Court issue the proposed search

warrant for the TARGET ACCOUNT.




       26.    This Court has jurisdiction to issue the requested warrant because it is "a court

ofcompetent jurisdiction" as defined by 18 U.S.C.§ 2711, 18 U.S.C. §§ 2703(a),(b)(1)(A)&

(c)(1)(A). Specifically, the Court is "a district court of the United States . . . that - has

jurisdiction over the offense being investigated." 18 U.S.C.§ 2711(3)(A)(i).



       27.    Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is

not required for the service or execution ofthis warrant.




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                                 VI. REQUEST FOR SEALING

        28.    I further request that the Court order that all papers in support of this

 application, including the affidavit and search warrant, be sealed for 60 days or until further

 order of the Court. These documents discuss an ongoing criminal investigation that is

neither public nor known to all ofthe targets of the investigation. Accordingly, there is good

cause to seal these documents because their premature disclosure may seriously jeopardize

that investigation.




                                                    Michael Hockwater, Task Force Officer
                                                   Federal Bureau of Investigation



Sworn and subscribed to before me
this 29th day of March 2019.


              P
H^OFA^..TF.F'F.MrAA / MCCARTHY
United States Magistrate Iwge
